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                                              THE CITY OF NEW YORK
ZACHARY W. CARTER
                                              LAWDEPARTMENT                                         SUSAN E. AMRON
Corporation Counsel                               100 CHUECH STREET                    Chief, Environmental Law Division
                                                NEW YORK, N.Y. 10007-2601                              (212) 356-2070
                                                                                                  FAX: (212) 356-2069
                                                                                                   samron@law. nyc. gov



                                                                                             March22, 2018


       BY HAND

       The Honorable John F. Keenan
       United States District Judge
       Daniel PatrickMoynihanUnited States Courthouse
       500 Pearl Street, Room 1930
       NewYork, NewYork 10007


                         Re: City of New Yorkv. BP P. L. C., et a/., 18 cv 182 (JFK)

       Dear Judge Keenan:

                Enclosedis a courtesy copy ofthe Amended Complaint filedby the City ofNewYork in
      the above-referenced case.

                                                                Respectfully,

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                                                                Susan E. Amron




      CC: Counsel of Record via ECF
